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he- 21-Cv- 6393

To whom it may concern, | Cristal Starling am writing the courts of The Western District Of New
York to file an answer to a settlement offer made by US district attorney Grace Carducci in
regards to currency in the amount of $8040.

Ms. Carducci’s associate Kiana Ferrel contacted me on November 2, 2021 to offer me a
settlement of half of the currency; of which was confiscated from me at my home at 466 1/2 W.
Main St. Apt 401 Rochester, NY 14608 on October 29, 2020.

The cause of this search warrant was for alleged drug activity made by an ex boyfriend by the
name of Kendrick Bronson.

There were two search warrants Executed simultaneously of which were for my address of
466 1/2 W. Main St. Rochester, NY and Kendrick’s address of
21 Pardee St. Rochester, NY.

There was nothing illegal found in my home at all, yet my money was confiscated.

This money has been in the custody of the Western District of New York for some time now. |
would like to move forward with court proceedings to have all of the funds returned to me
promptly. This money being taken has caused a hardship for me, as | am a single woman
raising a medically fragile child with no outside support.

The charges that stemmed from the execution of the search warrant for Mr. Bronson has since
been dismissed based on Acquittal of all matters in the City court of Rochester NY.

| have been advised that due to all charges being thrown out and legal proceedings ceased, any
property confiscated during the legal process should be returned to its rightful owner.

Please feel free to contact me to discuss this matter further by phone or email.

585-709-2236
dodat1881@gqmail.com

Thank you,
Cristal Starling

 
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Revised 05/01 WDNY CERTIFCATE OF SERVICE

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

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Plaintiff(s), CERTIFICATE OF SERVICE
v. 2) -cv- 6233
DB 240.0

 

Defendant(s

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I declare under penalty of perjury that the foregoing is true and correct, to the best of my
knowledge, information and belief.

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